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                     IN THE UNITED STATES DISTRICT COURT                    FILEI1 US :D;s'tric'f Couri"•MUT .
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                                  DISTRICT OF UTAH



 UNITED STATES OF AMERICA,                                 INDICTMENT

        Plaintiff,                           Count 1: 21 U.S.C. §§ 84l(a)(l) and 846:
                                             Conspiracy to Distribute Fentanyl
        vs.                                  (Rubio-Quintana, Rivera-Jauregui, Rubio-
                                             Acosta, Ignacio-Morales, L. Gutierrez, R.
  ANGEL RUBIO-QUINTANA,                      Valdez-Chavez, Adame, Mendez-Rojas,
  RAMON HIGUERA-COTA,                        H. Valdez)
  PRESCILIANO GALAX-FELIX, aka
  Presiliano Galas, aka Presciliano Galaz-   Count 2: 21 U.S.C. §§ 84l(a)(l) and 846:
  Felix aka "Chito"                          Conspiracy to Distribute Methamphetamine
       '            '
  JAIME RIVERA-JAUREGUI, aka                 (Rubio-Quintana, Higuera-Cota, Rivera-
  "Charras,"                                 J auregui, Rubio-Acosta, L. Gutierrez, R.
  CARLOS RUBIO-ACOSTA,                       Valdez-Chavez, Simpson, Eyman, Orozco,
  LAURO IGNACIO-MORALES, aka                 Marin-Angel, Tena-Villasenor, Ciriaco)
  "Junior,"
  LLONATAN GUTIERREZ-RUIZ, aka               Count 3: 21 U.S.C. §§ 841(a)(l) and 846:
  "Barbas,"                                  Conspiracy to Distribute Marijuana
  ALFREIDA SIMPSON,                          (Rubio-Quintana, Rubio-Acosta,
  TANYA ADAME,                               Ignacio-Morales, H. Valdez)
  RAUL VALDEZ-CHAVEZ,
  JUANA MARIN-ANGEL,                         Count 4: 18 U.S.C. § 1956(h): Conspiracy
  DANIEL TENA-VILLASENOR,                    to Launder Money (Rubio-Quintana,
  TRACY EYMAN,                               Higuera-Cota, Galax-Felix, Rivera-J autegui,
                                             Rubio-Acosta, L. Gutierrez, H. Valdez)


                                                  Case: 4:22-cr-00009
                                                  Assigned To : Nuffer, David
                                                  Assign. Date: 02/09/2022
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JUAN CARLOS OROZCO,                  Count 5: 21 U.S.C. § 84l(a)(l): Distribution
PAUL CIRIACO, aka "Pablo,"           of Methamphetamine (Rubio-Quintana)
OLIVER MENDEZ-ROJAS, aka
"Willy," and                         Count 6: 21 U.S.C. §§ 841(a)(l) and
HARD ET ALAN VALDEZ, aka             18 U.S.C. § 2: Distribution of
"Moshi"                              Methamphetamine (Rubio-Quintana and L.
      '                              Gutierrez)
      Defendants.
                                        Count 7: 21 U.S.C. § 84l(a)(l) and
                                        18 U.S.C. § 2: Distribution of
                                        Methamphetamine (Rubio-Quintana, R.
                                        Valdez-Chavez, L. Gutierrez)

                                        Count 8: 21 U.S.C. § 841(a)(l) and
                                        18 U.S.C. § 2: Distribution ofFentanyl
                                        (Rubio-Quintana, R. Valdez-Chavez, L.
                                        Gutierrez)

                                        Count 9: 21 U.S.C. § 84l(a)(l): Distribution
                                        ofFentanyl (Adame)

                                        Counts 10-12: 21 U.S.C. § 841(a)(l):
                                        Distribution of Methamphetamine
                                        (Simpson)

                                        Count 13: 21 U.S.C. § 84l(a)(l) and
                                        18 U.S.C. § 2: Distribution of
                                        Methamphetamine (Simpson)

                                        Count 14: 21 U.S.C. § 84l(a)(l):
                                        Distribution of Methamphetamine
                                        (Rubio-Quintana)

                                        Counts 15-16: 21 U.S.C. § 841(a)(l):
                                        Distribution ofFentanyl (Rubio-Quintana)

                                        Count 17: 21 U.S.C. § 841(a)(l):
                                        Distribution of Methamphetamine
                                        (Rivera-Jauregui)




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                                               Count 18: 21 U.S.C. § 841(a)(l): Possession
                                               ofMethamphetamine with Intent to
                                               Distribute (Eyman)

                                               Count 19: 21 U.S.C. § 84l(a)(l) and
                                               18 U.S.C. § 2: Distribution of
                                               Methamphetamine (Rubio-Quintana,
                                               Rivera-Jauregui, Rubio-Acosta, Marin-
                                               Angel)

                                                  Count 20: 21 U.S.C. § 841(a)(l): Possession
                                                  of Methamphetamine with Intent to
                                                  Distribute (Tena-Villasenor)

                                                  Count 21: 21 U.S.C. § 841(a)(l): Possession
                                                  ofMethamphetamine with Intent to
                                                  Distribute (Adame) .

                                                  Count 22: 21 U.S.C. § 84l(a)(l): Possession
                                                  of p-Fluorofentanyl with Intent to Distribute
                                                  (Adame)

                                                  Count 23: 21 U.S.C. § 84l(a)(l) and
                                                  18 U.S.C. § 2: Possession ofFentanyl with
                                                  Intent to Distribute (Rubio-Quintana,
                                                  Rivera-Jauregui, Mendez-Raj as)

                                                  Count 24: 8 U.S.C. § 1326: Reentry of a
                                                  Previously Removed Alien
                                                  (Rubio-Quintana)



       The Grand Jury charges:

                                      COUNT1
                              21 U.S.C. §§ 846, 841(a)(1)
                          (Conspiracy to Distribute Fentanyl)

       Beginning on a date unknown, and at least as far back as September 22, 2021, and

continuing to at least February 9, 2022, in the District of Utah,


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                          ANGEL RUBIO-QUINTANA,
                     JAIME RIVERA-JAUREGUI, aka "Charras,"
                           CARLOS RUBIO-ACOSTA,
                     LAURO IGNACIO-MORALES, aka "Junior,"
                    LLONATAN GUTIERREZ-RUIZ, aka "Barbas,"
                           RAUL VALDEZ-CHAVEZ,
                               TANYA ADAME,
                     OLIVER MENDEZ-ROJAS, aka "Willy," and
                      HARDET ALAN VALDEZ, aka "Moshi,"

defendants herein, did knowingly and intentionally combine, conspire, confederate, and

agree with others known and unknown to distribute 40 grams or more of a mixture or

substance containing a detectable amount of N-phenyl-N- [l- ( 2-phenylethyl) -4-

piperidinyl] propanamide ("Fentanyl"), a Schedule II controlled substance within the

meaning of 21 U.S.C. § 812; all in violation of 21 U.S.C. §§ 84l(a)(l) and 846, and

punishable under 21 U.S.C. § 84l(b)(l)(B).


                                      COUNT2
                              21 U.S.C. §§ 846, 841(a)(l)
                     (Conspiracy to Distribute Methamphetamine)

       Beginning on a date unknown, and at least as far back as June 25, 2021, and

continuing to at least February 9, 2022, in the District of Utah,

                          ANGEL RUBIO-QUINTANA,
                            RAMON HIGUERA-COTA,
                     JAIME RIVERA-JAUREGUI, aka "Charras,"
                            CARLOS RUBIO-ACOSTA,
                    LLONATAN GUTIERREZ-RUIZ, aka "Barbas,"
                              ALFREIDA SIMPSON,
                            RAUL VALDEZ-CHAVEZ,
                             JUANA MARIN-ANGEL,
                         DANIEL TENA-VILLASENOR,
                                TRACY EYMAN,
                          JUAN CARLOS OROZCO, and
                           PAUL CIRIACO, aka "Pablo,"

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defendants herein, did knowingly and intentionally combine, conspire, confederate, and

agree with others known and unknown to distribute 500 grams or more of a mixture or

substance containing a detectable amount of Methamphetamine, a Schedule II controlled

substance within the meaning of21 ·u.S.C. § 812; all in violation of21 U.S.C. §§ 841(a)(l)

and 846, and punishable under 21 U.S.C. § 841(b)(l)(A).


                                       COUNT3
                               21 U.S.C. §§ 846, 841(a)(1)
                          (Conspiracy to Distribute Marijuana)

       Beginning on a date unknown, but no later than October 29, 2021, and continuing

to at least February 9, 2022, in the District of Utah,

                           ANGEL RUBIO-QUINTANA,
                            CARLOS RUBIO-ACOSTA,
                    LAURO IGNACIO-MORALES, aka "Junior," and
                      HARDET ALAN VALDEZ, aka "Moshi,"

defendants herein, did knowingly and intentionally combine, conspire, confederate, and

agree with others known and unknown to distribute Marijuana, a Schedule I controlled

substance within the meaning of 21 U.S.C. § 812, all in violation of 21 U.S.C. § 84l(a)(l)

and punishable pursuant to 21 U.S.C. § 84l(b)(l)(D).


                                       COUNT4
                                   18 U.S.C. 1956(h)
                             (Conspiracy to Launder Money)

       Beginning on a date unknown, and at least as far back as June 25, 2021, and

continuing to at least February 9, 2022, in the District of Utah,

                               ANGEL RUBIO-QUINTANA,

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                          RAMON HIGUERA-COTA,
                    PRESCILIANO GALAX-FELIX, aka "Chito,"
                    JAIME RIVERA-JAUREGUI, aka "Charras,"
                          CARLOS RUBIO-ACOSTA,
                  LLONATAN GUTIERREZ-RUIZ, aka "Barbas," and
                      HARDET ALAN VALDEZ, aka "Moshi,"

defendants herein, did knowingly and intentionally combine, conspire, confederate, and

agree with others known and unknown to commit the following offenses against the United

States in violation of 18 U.S.C. § 1956:

(a) to knowingly conduct and attempt to conduct financial transactions, affecting interstate

or foreign commerce, which involved the proceeds of a specified unlawful activity,

specifically, the illegal distribution of controlled substances, in violation of 21 U.S.C.

§§ 84l(a)(l) & 846, with the intent to promote the carrying on of specified unlawful

activity, that is, the illegal distribution of controlled substances, and that while conducting

and attempting to conduct such financial transactions knew that the property involved in

the financial transactions represented the proceeds of some form of unlawful activity, in

violation of 18 U.S.C. §§ 1956(h) and 1956(a)(l)(A)(i);

(b) to knowingly conduct and attempt to conduct financial transactions, affecting interstate

or foreign commerce, which involved the proceeds of• specified unlawful activity,

specifically, the unlawful distribution of controlled substances, in violation of 21 U.S.C.

§§ 84l(a)(l) & 846, knowing that the transactions were designed in whole or in part to

conceal and disguise the nature, location, source, ownership, and control of the proceeds

of specified unlawful activity, and that while conducting and attempting to conduct such

financial transactions, knew that the property involved in the transactions represented the


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proceeds of some form of unlawful activity, in violation of 18 U.S.C. §§ 1956(h) and

1956(a)(l )(B)(i);

(c) to transport, transmit, and transfer, and attempt to transport, transmit, and transfer funds

from a place in the United States, that is the State of Utah, to and through a place outside

the United States, that is Mexico, with the intent to promote the carrying on of specified

unlawful activity, that is, the unlawful distribution of a controlled substance in violation of

21 U.S.C. §§ 84l(a)(l) and 846, all in violation of 18 U.S.C. §§ 1956(h) and 1956(a)(2)(A);

and,

(d) to transport, transmit, and transfer, and attempt to transport, transmit, and transfer funds

from a place in the United States, that is the State of Utah, to and through a place outside

the United States, that is Mexico, and knowing that the monetary instruments or funds

involved in the transportation, transmission, and transfer represented the proceeds of some

form of unlawful activity, that is, the unlawful distribution of a controlled substance in

violation of 21 U.S.C. §§ 841(a)(l) and 846 and knowing that such transportation was

designed in whole or in part to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of specified unlawful activity; all in violation of 18 U.S.C.

§§ 1956(h) and 1956(a)(2)(B)(i).




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                                      COUNTS
                                 21 U.S.C. § 841(a)(1)
                         (Distribution of Methamphetamine)

                  On or about August 19, 2021, in the District of Utah,

                             ANGEL RUBIO-QUINTANA,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount ofMethamphetamine, a Schedule II controlled

substance within the meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 841(a)(l)

and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).


                                      COUNT 6
                        21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2
                         (Distribution of Meth amphetamine)

                On or about September 16, 2021, in the District of Utah,

                        ANGEL RUBIO-QUINTANA and
                    LLONATAN GUTIERREZ-RUIZ, aka "Barbas,"

defendants herein, each aiding and abetting the other, did knowingly and intentionally

distribute 50 grams or more of a mixture or substance containing a detectable amount of

Methamphetamine, a Schedule II controlled substance within the meaning of 21 U.S.C.

§ 812, all in violation of 21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C.

§ 84l(b)(l)(B) and 18 U.S.C. § 2.




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                                      COUNT7
                        21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2
                         (Distribution of Methamphetamine)

                On or about September 22, 2021, in the District of Utah,

                        ANGEL RUBIO-QUINTANA,
                 LLONATAN GUTIERREZ-RUIZ, aka "Barbas," and
                         RAUL VALDEZ-CHAVEZ,

defendants herein, each aiding and abetting the other, did knowingly and intentionally

distribute 500 grams or more of a mixture or substance containing a detectable amount of

Methamphetamine, a Schedule II controlled substance within the meaning of 21 U.S.C.

§ 812, all in violation of 21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C.

§ 841(b)(l)(A) and 18 U.S.C. § 2.


                                      COUNTS
                        21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2
                              (Distribution of Fentanyl)

                On or about September 22, 2021, in the District of Utah,

                        ANGEL RUBIO-QUINTANA,
                 LLONATAN GUTIERREZ-RUIZ, aka "Barbas," and
                         RAUL VALDEZ-CHAVEZ,

defendants herein, each aiding and abetting the other, did knowingly and intentionally

distribute N-phenyl-N- [ 1- ( 2-phenylethyl) -4-piperidinyl] propanamide ("Fentanyl"), a

Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of

21 U.S.C. § 84l(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(C) and 18 U.S.C.

§ 2.




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                                       COUNT9
                                 21 U.S.C. § 841(a)(1)
                               (Distribution of Fentanyl)

                On or about September 28, 2021, in the District of Utah,

                                   TANYA ADAME,

defendant herein, did knowingly and intentionally distribute N-phenyl-N- [ 1- ( 2-

phenylethyl) -4-piperidinyl] propanamide ("Fentanyl"), a Schedule II controlled substance

within the meaning of 21 U.S.C. § 812, all in violation of 21 U.S.C. § 841(a)(l) and

punishable pursuant to 21 U.S.C. § 84l(b)(l)(C).


                                      COUNT 10
                                  21 U.S.C. § 841(a)(1)
                          (Distribution of Metharn phetarnine)

                 On or about September 28, 2021, in the District of Utah,

                                 ALFREIDA SIMPSON,

defendant herein, did knowingly and intentionally distribute Methamphetamine, a Schedule

II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of 21 U.S.C.

§ 841(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(C).




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                                      COUNT 11
                                  21 U.S.C. § 841(a)(l)
                          (Distribution of Methamphetamine)

                  On or about October 7, 2021, in the District of Utah,

                                 ALFREIDA SIMPSON,

defendant herein, did knowingly and intentionally distribute Methamphetamine, a Schedule

II controlled substance within the meaning of21 U.S.C. § 812, all in violation of 21 U.S.C.

§ 841(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(C).


                                      COUNT 12
                                  21 U.S.C. § 841(a)(l)
                          (Distribution of Methamphetamine)

                  On or about October 28, 2021, in the District of Utah,

                                 ALFREIDA SIMPSON,

defendant herein, did knowingly and intentionally distribute Methamphetamine, a Schedule

II controlled substance within the meaning of21 U.S.C. § 812, all in violation of 21 U.S.C.

§ 84l(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(C).


                                      COUNT 13
                         21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2
                          (Distribution of Metham phetamine)

                  On or about Novembc:r 4, 2021, in the District of Utah,

                                 ALFREIDA SIMPSON,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount ofMethamphetamine, a Schedule II controlled



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substance within the meaning of2 l U.S.C. § 812, and did aid and abet therein, all in violation

of21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C. § 841(b)(l)(B) and 18 U.S.C.

§ 2.


                                       COUNT 14
                                   21 U.S.C. § 841(a)(l)
                           (Distribution of Metham phetamine)

                  On or about November 8, 2021, in the District of Utah,

                               ANGEL RUBIO-QUINTANA,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount ofMethamphetamine, a Schedule II controlled

substance within the meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 84l(a)(l)

and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).


                                        COUNT 15
                                   21 U.S.C. § 84l(a)(l)
                                 (Distribution of Fentanyl)

                  On or about November 8, 2021, in the District of Utah,

                               ANGEL RUBIO-QUINTANA,

defendant herein, did knowingly and intentionally distribute 40 grams or more of a mixture

or substance containing a detectable amount of N-phenyl-N- [ 1- ( 2-phenylethyl) -4-

piperidinyl ] propanamide ("Fentanyl"), a Schedule II controlled substance within the

meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 841(a)(l) and punishable pursuant

to 21 U.S.C. § 841(b)(l)(B).



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                                        COUNT 16
                                  21 U.S.C. § 841(a)(1)
                                (Distribution of Fentanyl)

                On or about November 19, 2021, in the District of Utah,

                               ANGEL RUBIO-QUINTANA,

defendant herein, did knowingly and intentionally distribute 40 grams or more of a mixture

or substance containing a detectable amount of N-phenyl-N- [ 1- ( 2-phenylethyl )-4-

piperidinyl ] propanamide ("Fentanyl"), a Schedule II controlled substance within the

meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 84l(a)(l) and punishable pursuant

to 21 U.S.C. § 84l(b)(l)(B).


                                      COUNT 17
                                  21 U.S.C. § 841(a)(1)
                          (Distribution of Methamphetamine)

                 On or about November 23, 2021, in the District of Utah,

                      JAIME RIVERA-JAUREGUI, aka "Charras,"

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount ofMethamphetamine, a Schedule II controlled

substance within the meaning of21 U.S.C. § 812, all in violation of21 U.S.C. § 841(a)(l)

and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).




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                                     COUNT 18
                                 21 U.S.C. § 84l(a)(l)
              (Possession of Methamphetamine with Intent to Distribute)

                 On or about November 23, 2021, in the District of Utah,

                                    TRACY EYMAN,

defendant herein, did knowingly and intentionally possess with intent to distribute 50 grams

or more of a mixture or substance containing a detectable amount of Methamphetamine, a

Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of

21 U.S.C. § 84l(a)(l) and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).


                                      COUNT 19
                         21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2
                          (Distribution of Methamphetamine)

                  On or about December 3, 2021 in the District of Utah,

                           ANGEL RUBIO-QUINTANA,
                      JAIME RIVERA-JAUREGUI, aka "Charras,"
                          CARLOS RUBIO-ACOSTA, and
                             JUANA MARIN-ANGEL,

defendants herein, each aiding and abetting the other, did knowingly and intentionally

distribute 50 grams or more of a mixture or substance containing a detectable amount of

Methamphetamine, a Schedule II controlled substance within the meaning of 21 U.S.C. §

812, all in violation of 21 U.S.C. § 84l(a)(l) and punishable pursuant to 21 U.S.C.

§ 84l(b)(l)(B) and 18 U.S.C. § 2.




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                                    COUNT20
                                21 U.S.C. § 841(a)(1)
             (Possession of Methamphetamine with Intent to Distribute)

                 On or about December 3, 2021, in the District of Utah,

                            DANIEL TENA-VILLASENOR,

defendant herein, did knowingly and intentionally possess with intent to distribute 50 grams

or more of a mixture or substance containing a detectable amount of Methamphetamine, a

Schedule II controlled substance within the meaning of 21 U.S. C. § 812, all in violation of

21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).


                                     COUNT21
                                 21 U.S.C. § 841(a)(1)
              (Possession of Methamphetamine with Intent to Distribute)

                 On or about December 16, 2021, in the District of Utah,

                                    TANYA ADAME,

defendant herein, did knowingly and intentionally possess with intent to distribute 50 grams

or more of a mixture or substance containing a detectable amount of Methamphetamine, a

Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all in violation of

21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).


                                      COUNT22
                                 21 U.S.C. § 841(a)(1)
               (Possession of p-Fluorofentanyl with Intent to Distribute)

                 On or about December 16, 2021, in the District of Utah,

                                    TANYA ADAME,

defendant herein, did lmowingly and intentionally possess with intent to distribute (N-(4-
                                             15
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fluoropheny 1)-N-[ 1-(2-phenylethy 1)-4-piperidinyl]propanamide) ("p-Fluorofentany I"), a

Schedule I controlled substance within the meaning of21 U.S.C. § 812, all in violation of21

U.S.C. § 84l(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(C).


                                        COUNT23
                          21 U.S.C. § 841(a)(l) and 18 U.S.C. § 2
                     (Possession of Fentanyl with Intent to Distribute)

                 On or about December 29, 2021, in the District of Utah,

                            ANGEL RUBIO-QUINTANA,
                     JAIME RIVERA-JAUREGUI, aka "Charras," and
                        OLIVER MENDEZ-ROJAS, aka "Willy,"

defendants herein, each aiding and abetting the other, did knowingly and intentionally

possess with intent to distribute 40 grams or more of a mixture or substance containing a

detectable amount of N-phenyl-N- [ 1- ( 2-phenylethyl) -4-piperidinyl ] propanamide

("Fentanyl"), a Schedule II controlled substance within the meaning of 21 U.S.C. § 812, all

in violation of 21 U.S.C. § 841(a)(l) and punishable pursuant to 21 U.S.C. § 84l(b)(l)(B)

and 18 U.S.C. § 2.


                                        COUNT24
                                      8 u.s.c. § 1326
                         (Reentry of a Previously Removed Alien)
                                                    1,.(~~
                      On or about August 19, 202.ff, in th't-district of Utah,

                               ANGEL RUBIO-QUINTANA,

defendant herein, an alien who on or about August 25, 2004, was excluded, removed, and

deported from the United States, did knowingly reenter and was found in the United States

in the District of Utah, having not obtained the consent of the Secretary of the United States

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Department of Homeland Security to reapply for admission into the United States; all in

violation of 8 U.S.C. § 1326.



                   NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 21 U.S.C. § 853, upon conviction of any offense violating 21 U.S.C.

§§ 841 and 846, the defendant(s) shall forfeit to the United States of America any

property constituting, or derived from, any proceeds obtained, directly or indirectly, as

the result of such offense(s) and any property used, or intended to be used, in any manner

or part, to commit, or to facilitate the commission of, the offense(s). The property to be

forfeited includes, but is not limited to:

       •   A MONEY JUDGMENT equal to the value of any property not available for

           forfeiture as a result of any act or omission of the defendant(s) for one or more

           of the reasons listed in 21 U.S.C. § 853(p).

       •   Substitute property as allowed by 21 U.S.C. § 853(p).

                    NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 982(a)(l), upon conviction of any offense in violation of

18 U.S.C. § 1956(h), the defendants shall forfeit to the United States of America any

property, real or personal, involved in the money laundering conspiracy, and any property

traceable to such property. The property to be forfeited includes, but is not limited to:

       •   A money judgment equal to the value of all property not available for

           forfeiture as a result of any act or omission of the defendant( s) for one or more

           of the reasons listed in 21 U.S.C. § 853(p); and
                                             17
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      •   Substitute property as allowed by 18 U.S.C. § 982(b) and 21 U.S.C. § 853(p).


                                       A TRUE BILL:


                                                 /s/
                                       FOREPERSdN OF THE GRAND JURY

ANDREA T. MARTINEZ


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           P.DENT

Assistant United States Attorneys




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